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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

CYNTHIA LIVINGSTON,
Plaintiff,

vs. No. l9-cv-02027
UBER TECHNOLOGIES INC. and ,
RASIER, LLC and RASIER - CA, LLC
and RASIER - DC, LLC and
NOORDIN RAJAH,

Honorable Ruben Castillo

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Defendants.
PLAINTIFF’S FIRST AMENDED COMPLAINT AT LAW
NOW COMES the Plaintiff, CYNTHIA LIVINGSTON, by and through her attorneys,
TRAPP AND GELLER, and complaining of the Defendants, UBER TECHNOLOGIES, INC and
RASIER -CA LLC and RASIER -DC LLC and NOORDIN M. RAJAH, pleading hypothetically
and in the alternative, hereby sates as follows:
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LIVINGSTON V. UBER and NOORDIN RAJAH

l. That on or about May ll, 2017, Defendant UBER TECHNOLIGIES INC (hereinafter,
“UBER”) Was a Corporation doing business in the City of Chicago, County of Cook and

State of lllinois.

2. That on or about May ll, 2017, the Stroger Hospital Adrninistration building Was located
at or near 1900 West Polk in the City of Chicago, County of Cook and State of Illinois.

3. That on or about May ll, 2017, Defendant NOORDIN RAJAH Was driving a motor
vehicle at or near 1900 West Polk in the City of Chicago.

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That on or about May 11, 2017, Defendant NOORDIN RAJAH owned the vehicle he was

driving.

That on or about May 11, 2017, Defendant NOORDIN was driving the aforesaid vehicle

with the permission of the owner of the vehicle.

That on or about May 11, 2017, Defendant NOORDIN RAJAH was driving the aforesaid
vehicle as the agent and/or employee of Defendant UBER.

That on or about May 11, 2017, and at all times stated herein, Defendant NOORDIN
RAJAH was driving the aforesaid vehicle within the course and scope of his employment

and/or agency with Defendant UBER.

That on or about May 11, 2017, Defendant NOORDIN RAJAH, and at all times stated

herein, was driving the aforesaid vehicle as a permissive of Defendant UBER.

That on or about May 11, 2017, Defendant NOORDIN RAJAH had been requested via
Defendant UBER to pick up certain passengers, including CYNTHIA LIVINGSTON, at

or near 1900 West Polk in Chicago for purposes of transportation

That on or about May 11, 2017, Plaintiff CYNTHIA LIVINGSTON was a pedestrian and
a customer and was attempting to get into Defendant’s NOORDIN RAJAH’s vehicle.

That on or about May 11, 2017, as Plaintiff CYNTHIA LIVINGSTON was attempting to
get into Defendant NOORDIN RAJAH’s vehicle, the Defendant began to drive away and
dragged Plaintiff’ s body.

That on or about May 11, 2017, and at all times stated herein, Defendants UBER and
NOORDIN RAJAH, individually and by and through their agents and/or employees owed
a duty to operate their vehicle in a reasonably safe manner to avoid causing injury to

Plaintiff.

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13. That on or about May 11, 2017, notwithstanding the aforesaid duty, Defendants, UBER
and NOORDIN RAJAH, individually and by and through their agents and/or employees

were guilty of on ore more of the aforesaid acts and/or omissions:

a. Failed by driving away before Plaintiff was able to get into the vehicle;
b. Failed by striking Plaintiff while she was a pedestrian;
c. Failed by driving at a speed which was greater than reasonable in violation of 625

ILCS 5/11-601(a);
d. Failed to allow for Plaintiff to safely enter the vehicle before driving away;

e. Failed to keep a safe and proper lookout for Plaintiff.

14. That on or about May 11, 2017, Plaintiff CYNTHIA LIVINGSTON was injured.

15. That the aforesaid injuries suffered by Plaintiff CYNTHIA LIVINGSTON were a direct
and proximate result of one or more of the aforesaid acts and/or omissions of Defendants,

UBER and NOORDIN RAJAH.

16. That as a result of her injuries, Plaintiff CYNTHIA LIVINGSTON has been caused to incur
medical and legal expenses, and has been caused to suffer great pain and disability and loss
of a normal life, and disfigurement and lost wages and benefits all of which injuries are

permanent and will continue on into the future.

17. That there exists complete diversity in citizenship between Plaintiff and Defendants in this
matter.
18. That Plaintiff is seeking in excess of $75,000.00 as compensation for her injuries and

damages sustained in this matter.

WHEREFORE, the Plaintiff, CYNTHIA LIVINGSTON, by and through her attorneys,
TRAPP & GELLER, prays for judgment in her favor and against the Defendant UBER AND
NOORDIN RAJAH, in a sum in excess of FIFTY THOUSAND DOLLARS ($75,000.00) as shall

be just and proper compensation for the injuries sustained and damages incurred, plus costs.

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COUNT II
CYNTHIA LIVINGSTON V. RASIER AND NOORDIN RAJAH

That on or about May 1 1, 2017, Defendant RASIER LLC was a Limited Liability Company
doing business in the City of Chicago, County of Cook and State of Illinois.

That on or about May 11, 2017, Defendant RASIER - CA LLC was a Limited Liability
Company doing business in the City of Chicago, County of Cook and State of Illinois.

That on or about May 11, 2017, Defendant RASIER - DC LLC was a Limited Liability
Company doing business in the City of Chicago, County of Cook and State of Illinois.

That for purposes of this complaint, Defendant RASIER LLC and Defendant RASIER -
CA LLC and Defendant RASIER - DC LLC shall hereinafter be collectively referred to as
“Defendant RASIER”.

That on or about May 11, 2017, the Stroger Hospital Administration building was located
at or near 1900 West Polk in the City of Chicago, County of Cook and State of Illinois.

That on or about May 11, 2017, Defendant NOORDIN RAJAH was driving a motor
vehicle at or near 1900 West Polk in the City of Chicago.

That on or about May 11, 2017, Defendant NOORDIN RAJAH owned the vehicle he was

driving.

That on or about May 11, 2017, Defendant NOORDIN RAJAH was driving the aforesaid

vehicle with the permission of the owner of the vehicle.

That on or about May 11, 2017, Defendant NOORDIN RAJAH was driving the aforesaid
vehicle as the agent and/ or employee of Defendant RASIER.

That on or about May 11, 2017, and at all times stated herein, Defendant NOORDIN
RAJAH was driving the aforesaid vehicle within the course and scope of his employment

and/ or agency with Defendant RASIER.

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That on or about May 11, 2017, Defendant NOORDIN RAJAH and at all times stated

herein, was driving the aforesaid vehicle as a permissive user from Defendant RASIER.

That on or about May 11, 2017, Defendant NOORDIN RAJAH had been requested via
Defendant UBER to pick up certain passengers, including CYNTHIA LIVINGSTON, at

or near 1900 West Polk in Chicago for purposes of transportation

That on or about May 11, 2017, Plaintiff CYNTHIA LIVINGSTON was a pedestrian and
a customer and was attempting to get into Defendant NOORDIN RAJAH’S vehicle.

That on or about May 11, 2017, as Plaintiff CYNTHIA LIVINGSTON was attempting to
get into the vehicle, Defendant NOORDIN RAJAH began to drive away and dragged
Plaintiff s body.

That on or about May 11, 2017, and at all times stated herein, Defendants, RASIER and
NOORDIN RAJAH, individually and by and through their agents and/or employees owed
a duty to operate their vehicle in a reasonably safe manner to avoid causing injury to

Plaintiff.

That on or about May 11, 2017, notwithstanding the aforesaid duty, Defendants RASIER
and NOORDIN RAJAH, individually and by ant through their agents and/or employees

were guilty of on ore more of the aforesaid acts and/or omissions:

a. Failed by driving away before Plaintiff was able to get into the vehicle;
b. Failed by striking Plaintiff while she was a pedestrian;
c. Failed by driving at a speed which was greater than reasonable in violation of 625

lLCS 5/11-601(a);
d. Failed to allow for Plaintiff to safely enter the vehicle before driving away;

e. Failed to keep a safe and proper lookout for Plaintiff.

That on or about May 11, 2017, Plaintiff CYNTHIA LIVINGSTON was injured.

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18. That the aforesaid injuries suffered by Plaintiff CYNTHIA LIVINGSTON were a direct
and proximate result of one or more of the aforesaid acts and/or omissions of Defendants,

RASIER and NOORDIN RAJAH.

19. That as a result of her injuries, Plaintiff CYNTHIA LIVINGSTON has been caused to incur
medical and legal expenses, and has been caused to suffer great pain and disability and loss
of a normal life, and disfigurement and lost wages and benefits all of which injuries are

permanent and will continue on into the future.

20. That there exists complete diversity in citizenship between Plaintiff and Defendants in this

matter.

21. That Plaintiff is seeking in excess of $75,000.00 as compensation for her injuries and

damages sustained in this matter.

WHEREFORE, the Plaintiff, CYNTHIA LIVINGSTON, by and through her attorneys,
TRAPP & GELLER, prays for judgment in her favor and against the Defendant RASIER AND
NOORDIN RAJAH, in a sum in excess of FIFTY THOUSAND DOLLARS ($75,000.00) as shall

be just and proper compensation for the injuries sustained and damages incurred, plus costs.

COUNT III

LIVINGSTON v. NOORDIN RAJAH

1. That on or about May 11, 2017, the Stroger Hospital Administration building was located
at or near 1900 West Polk in the City of Chicago, County of Cook and State of Illinois.

2. That on or about May 11, 2017, Defendant NOORDIN RAJAH was driving a motor
vehicle at or near 1900 West Polk in the City of Chicago.

3. That on or about May 11, 2017, Defendant NOORDIN RAJAH owned the vehicle he was

driving.

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That on or about May 11, 2017, Defendant NOORDIN RAJAH was driving the aforesaid

vehicle with the permission of the owner of the vehicle.

That on or about May 11, 2017, Defendant NOORDIN RAJAH was driving the aforesaid
vehicle as the agent and/or employee of Defendant UBER.

That on or about May 11, 2017, and at all times stated herein, Defendant NOORDIN
RAJAH was driving the aforesaid vehicle within the course and scope of his employment

and/or agency with Defendant UBER.

That on or about May 11, 2017, Defendant NOORDIN RAJAH and at all times stated

herein, was driving the aforesaid vehicle as a permissive of Defendant UBER.

That on or about May 11, 2017, Defendant NOORDIN RAJAH was driving the aforesaid
vehicle as the agent and/or employee of Defendant RASIER.

That on or about May 11, 2017, and at all times stated herein, Defendant NOORDIN
RAJAH was driving the aforesaid vehicle within the course and scope of his employment

and/or agency with Defendant RASIER.

That on or about May 11, 2017, Defendant NOORDIN RAJAH and at all times stated

herein, Was driving the aforesaid vehicle as a permissive of Defendant RASIER.

That on or about May 11, 2017, Defendant NOORDIN RAJAH had been requested via
Defendant UBER to pick up certain passengers, including CYNTHIA LIVINGSTON, at
or near 1900 West Polk in Chicago for purposes of transporting them.

That on or about May 11, 2017, Plaintiff CYNTHIA LIVINGSTON was a pedestrian and
a customer and was attempting to get into Defendant NOORDIN RAJAH’S vehicle.

That on or about May 11, 2017, as Plaintiff CYNTHIA LIVINGSTON was attempting to
get into the vehicle, Defendant NOORDIN RAJAH began to drive away and dragged
Plaintiff’ s body.

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That on or about May 11, 2017, and at all times stated herein, Defendant NOORDIN
RAJAH, individually and by and through their agents and/or employees owed a duty to

operate their vehicle in a reasonably safe manner to avoid causing injury to Plaintiff.

That on or about May 1 1, 2017, notwithstanding the aforesaid duty, Defendant NOORDIN
RAJAH, individually and by ant through their agents and/or employees were guilty of on

ore more of the aforesaid acts and/or omissions:

a. Failed by driving away before Plaintiff was able to get into the vehicle;
b. Failed by striking Plaintiff while she was a pedestrian;
c. Failed by driving at a speed which was greater than reasonable in violation of 625

ILCS 5/11-601(a);
d. Failed to allow for Plaintiff to safely enter the vehicle before driving away;

e. Failed to keep a safe and proper lookout for Plaintiff.

That on or about May 11, 2017, Plaintiff CYNTHIA LIVINGSTON was injured.

That the aforesaid injuries suffered by Plaintiff CYNTHIA LlVINGSTON were a direct
and proximate result of one or more of the aforesaid acts and/or omissions of Defendant,

NOORDIN RAJAH.

That as a result of her injuries, Plaintiff CYNTHIA LIVINGSTON has been caused to incur
medical and legal expenses, and has been caused to suffer great pain and disability and loss
of a normal life, and disfigurement and lost wages and benefits all of which injuries are

permanent and will continue on into the future.

That there exists complete diversity in citizenship between Plaintiff and Defendants in this

matter.

That Plaintiff is seeking in excess of $75,000.00 as compensation for her injuries and

damages sustained in this matter.

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WHEREFORE, the Plaintiff, CYNTHIA LIVINGSTON, by and through her attomeys,
TRAPP & GELLER, prays for judgment in her favor and against the Defendant NOORDIN
RAJAH, in a sum in excess of FIFTY THOUSAND DOLLARS ($75,000.00) as shall be just and

proper compensation for the injuries sustained and damages incurred, plus costs.

By:

 

Plaintiff\bq&ttomey
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